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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

   NATIONAL LABORATORIES, LLC, THE LUKENS               )
   INSTITUTE, LLC, TREASURE COAST                       )
   RECOVERY, LLC                                        )
               Plaintiffs,                              )
                                                        )
         v.                                             )   Case No. 9-17-cv-81178-DMM
                                                        )
   UNITED HEALTHCARE GROUP, INC., UNITED                )
   HEALTHCARE SERVICES, INC., UNITED                    )
   HEALTHCARE INSURANCE COMPANY, UNITED                 )
   HEALTHCARE SERVICES LLC, OPTUM and                   )
   GOLDEN RULE INSURANCE COMPANY                        )
                                                        )
                Defendants                              )
                                                        )
         v.                                             )
                                                        )
   NATIONAL LABORATORIES, LLC, THE LUKENS               )
   INSTITUTE, LLC, TREASURE COAST RECOVERY,             )
   LLC, TREATMENT MANAGEMENT COMPANY,                   )
   LLC, WELLNESS COUNSELING AND                         )
   RESIDENTIAL DETOXIFICATION, LLC,                     )
   SUNSHINE DOCTORS GROUP, LLC, and AID IN              )
   RECOVERY, LLC,                                       )
         Counter-Defendants,                            )
                                                        )

                   PLAINTIFFS’ AND COUNTER-DEFENDANTS’
             NOTICE OF FILING DECLARATION OF CHUCK CAMPAGNA
       IN SUPPORT OF OPPOSITION TO DEFENDANTS’/COUNTER-PLAINTIFFS’
                      MOTION FOR SUMMARY JUDGMENT

         Plaintiffs National Laboratories, LLC; The Lukens Institute, LLC; Treasure Coast

   Recovery, LLC; and Counter-Defendants National Laboratories, LLC; The Lukens Institute,

   LLC;, Treasure Coast Recovery, LLC; Treatment Management Company, LLC; Wellness

   Counseling and Residential Detoxification, LLC; Sunshine Doctors Group, LLC, and Aid In

   Recovery, LLC, hereby provide notice of the filing of the attached Declaration of Chuck
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                                                               Case No. 9:17-cv-81178-DMM


   Campagna in support of Plaintiffs’/Counter-Defendants’ Opposition to Defendants’/Counter-

   Plaintiffs’ Motion for Summary Judgment.

   Date: July 27, 2018                            Respectfully submitted,

                                                  /s/ Jason S. Mazer        _
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                                                  *Admitted Pro Hac Vice

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                                                                    Case No. 9:17-cv-81178-DMM




                                   CERTIFICATE OF SERVICE

          I hereby certify that on July 27, 2018, a true and correct copy of the foregoing was

   electronically filed with the Clerk of the Court using CM/ECF. Copies of the foregoing

   document will be served via Notices of Electronic Filing generated by CM/ECF or in some other

   authorized manner for those counsel or parties who are not authorized to receive electronically

   Notices of Electronic Filing listed on the Service List below.


                                                        /s/ Jason S. Mazer
                                                        Jason S. Mazer
                                                        Florida Bar No. 0149871
                                                        Counsel for Plaintiffs/Counter-Defendants




                                                    3
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                                                         Case No. 9:17-cv-81178-DMM


                                          SERVICE LIST

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   Inc.; and Golden Rule Insurance Company




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                                 UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION

                                        Case No. 9:17-cv-81178-DMM

   NATIONAL LABORATORIES, LLC, THE
   LUKENS INSTITUTE, LLC, TREASURE
   COAST RECOVERY, LLC

               Plaintiffs,

   v.

   UNITEDHEALTH GROUP, INC., UNITED
   HEALTHCARE SERVICES, INC.,
   UNITEDHEALTHCARE INSURANCE COMPANY,
   UNITED HEALTHCARE SERVICES LLC,
   OPTUM, INC. and GOLDEN RULE INSURANCE
   COMPANY


               Defendants and Counter-Plaintiffs,

   v.

   NATIONAL LABORATORIES, LLC, THE LUKENS
   INSTITUTE, LLC, TREASURE COAST RECOVERY,
   LLC, TREATMENT MANAGEMENT COMPANY, LLC,
   WELLNESS COUNSELING AND RESIDENTIAL
   DETOXIFICATION, LLC, SUNSHINE DOCTORS
   GROUP, LLC and AID IN RECOVERY, LLC

               Counter-Defendants.
                                                                   /

    AFFIDAVIT OF CHUCK CAMPAGNA REGARDING INFORMATION COLLECTED
      AT PATIENT INTAKE; PLAINTIFFS’ SPREADSHEET OF UNDERPAYMENTS

               I, CHARLES JOHN CAMPAGNA, declare under penalty of perjury the following:

               1.      I am over the age of eighteen (18) and am otherwise competent to testify. I am an

   individual, an officer of the plaintiff and counterclaim-defendant entities (the “Plaintiffs”), and a

   Senior Vice President for Treatment Management Company, LLC. I can attest to the issues and




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   information addressed herein on behalf of the Plaintiffs. I have personal knowledge of the

   information contained in this Affidavit and am fully competent to make this Affidavit with

   regard to the above-captioned case.                    If called upon to testify thereto, I could and would

   competently do so under oath.

             2.        I have been asked to prepare this Affidavit in support of Plaintiffs’ opposition to

   United Healthcare (UHC)’s Motion for Partial Summary Judgment.

             3.        In my role as Senior Vice President, I am in charge of overseeing TMC’s business

   intelligence, system operations and the Answering Service Center. In this role, I oversee system

   operations for the Answering Service Center operated by Aid in Recovery.

             4.        I have been employed by TMC for roughly three (3) years, during which time I

   performed various other duties as Vice President, Chief Accounting Officer and other roles with

   respect to finance, marketing and systems operations.

             A.        Verification of Benefits

             5.        When a potential patient first calls into the Aid in Recovery (“AIR”) Answering

   Service Center or the Plaintiffs for treatment at one of Plaintiffs’ facilities, answering service

   center personnel asks him or her to identify the employer for the primary policy holder of the

   patient’s health insurance. Plaintiffs also ask for, and record, the primary policy holder’s full

   name (first and last), and other identifying information. In addition, Plaintiffs ask for both the

   “Group ID” and the “Insurance Plan ID” numbers that are listed on the patient’s insurance card.

   Both of these numbers are associated with, and can be used to help identify, the employer and

   the applicable health plan. These pieces of information are input into the Client Relations

   Management (CRM) database used by Plaintiffs.

             6.        AIR or Plaintiffs will use this information to verify the patient’s benefits prior to



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   patient intake or the rendering of care. Initial verification was performed through Availity, a

   health care information technology company and healthcare claims clearinghouse used by many

   payors, including UHC/Optum. Through accessing Availity, a web-based portal which allows

   24-hour access to real-time information regarding benefits for UHC plans, Plaintiffs were able to

   verify the information provided by each potential patient, and confirm the benefits available to

   those potential patients. Information available on Availity is obtained and placed in the patient’s

   file, and information from Availity is manually inputted into Plaintiffs’ CRM database.

             7.        AIR or Plaintiffs will then contact UHC directly to further verify the potential

   patient’s benefits. During this process, Plaintiffs provide UHC the patient’s name, member ID,

   and policy/group ID numbers, which is sufficient for the UHC representative to identify and

   pull-up the patient’s UHC benefits plan. During this call, prior obtained information is again

   confirmed, and the UHC representative will provide additional information as to the nature and

   terms of the patients’ benefits plan, including the employer group name, availability of out of

   network coverage, and/or potential limitations or exclusions which may apply to coverage for

   Plaintiffs’ treatment.

             8.        During the calls with UHC, Plaintiffs also specifically                 ask United whether

   benefits are assignable under the patient’s benefit plan. Based on the response communicated

   directly by the United representative, Plaintiffs select “Yes” or “No” from a drop-down menu in

   a field titled, “Are the Benefits Assignable.”

             9.        A Verification of Benefits (VOB) file is created during patient intake based on

   this information about the patient’s health benefits that is provided by the payor, such as UHC.

   All of the information about the benefits comes from the payor, not from Plaintiffs. The VOB

   file is also entered into the CRM for each patient.



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             10.       All the information obtained through the verification process, as described above,

   is input into the VOB section of the EMR. This includes United’s answer to the question, “Are

   the Benefits Assignable.”

             B.        Spreadsheet of Plaintiffs’ Claims and Identification of the Plans at Issue

             11.       I have overseen the efforts to compile the most current spreadsheet of

   underpayments due to Plaintiffs by United, including the version attached to Gannon’s expert

   report and the version attached to United’s Statement of Facts as Exhibit 2, titled the “Combined

   Damages Spreadsheet.”               The underlying data reflected in spreadsheet was extracted from

   Plaintiffs’ Salesforce CRM platform, and includes the Patient’s name, subscriber number,

   birthdate, insurer and policy number. (United’s Statement of Facts, Exhibit 2.)

             12.       The VOB data reflected on this spreadsheet would not have appeared if an AIR or

   Plaintiff employee had not verified each patient’s benefits under their respective United plans.

   From this, I can confirm that a VOB file was created for each and every one of the UHC patients

   listed on the spreadsheet.

             13.       Contained in this data is the employee’s record of patient name, policy ID

   number, group ID number, and policy holder’s employer. Also contained in this data is the

   employee’s record of whether benefits are assignable under the terms of the plan, which is

   obtained from affirmation received from United when benefits are verified (e.g., the field titled

   “ARE_THE_BENEFITS_ASSIGNABLE_C”).

             14.        A true and correct copy of a summary compilation of the data I was able to

   extract is attached hereto as Exhibit A.




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                  Exhibit A
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Patient's                                                                                         Assignment
 initials     Group ID             Health Plan ID                Primary Policy Holder Employer   of Benefits
   AB                070101kz                13929868   ALOSTERMAN BAKERY                             Yes
    AL                2w6371                956672048   FIVE BUILDERS                                 Yes
   AB                  742878               977457504   ESRI                                          Yes
   AB              76-412605            325000073898    ARDENT                                        Yes
   AC                  708691               936701644   ALLERGAN                                      Yes
   AC                  199409               926330277   FLIGHT ATTENDANT                              Yes
   AH                  185002               945436761   TARGET                                        Yes
   AO                  902825               938817213   NONE                                          Yes
   AC                  182019               932491980   UNKNOWN                                       Yes
   AF                                       829262217                                                 Yes
   AS                 227943                 60035017   FREE PORT                                     Yes
   AF                 903217                939398424   MILLER ALE HOUSE                              Yes
   AH              78-360001            30417333geha    VA MEDICAL CENTER                             Yes
   AG                 907981                905309021   R&R DONNELLY (CHANGED TO) LSC                 Yes
                                                        COMMUNICATIONS
  AT                  902969               965245306    RIVERSIDE SUPERIOR COURT                      Yes
  AL                  902762               961669065    FACTORY WORKER                                Yes
  AC                  229050               938162750    MARKETPLACE                                   Yes
  AS               76-410706      HIX 527 442 452 742   NOVOLEX                                       Yes
  AS              718533400        HIX527 442 452 742   WISCONSIN FILM & BAG                          No
  AA                  199409               813880955    SOUTHWEST AIRLINES                            Yes
  AC                  901347               909961894    PROJECT HOPE                                  Yes
  AB                  905027               925044602    PETE MARTIN DRILLING                          Yes
  AB                  743018               911327022    ABM, SUBBED BY FEDEX                          Yes
  AA                  195820               955227721    EMPLOYED                                      Yes
  AT                  204781               877219166    CORNING INC                                   Yes
  AR                  9r9273               901067473    APISCENT LABS                                 Yes
  AW                  711959               821516621    RACINE UNIFIED SCHOOL DISTRICT                Yes
  AD                 2w3488                913396620    NSC DEVELOPMENT INC                           Yes
  AV                  742781               972099529    PERFORMANCE FOOD GROUP                        Yes
  AC               704539 (4)              936345070    X                                             Yes
  AP                 030500/    890634176/EMPIRE ID#    NYS STATE                                     No
             EMPIRE GROUP ID            YLS890634176
                      Y00001
  AB                  216785               847901464    DISCOVERY COMMUNICATIONS                      Yes
  AD                  700563               913052054    EMPLOYED                                      Yes
  AM                  743406               824643005    SPIRIT AIR SYSTEMS                            Yes
  AM                  700560               965544611    SHAMROCK FOODS                                Yes
  AN                    0000               890421170    BELLMORE-MERRICK CENTRAL HIGH SCHOOL          No
                                                        DISTRICT
  AR                76411406           406001213396     NRECA                                         Yes
  AA                  108000              820478514     WELLS FARGO                                   Yes
  AC                  168504              976457909     WORKS FOR UHC                                 Yes
  AF                  0w0591              940187491     JOFLOW GRATING                                Yes
  AB                  744260              002915770     STATE OF TEXAS                                Yes
  AR                  227079              904483761     HEALTH FOOD MARKET                            Yes
  AM                  108000              953959631     NA                                            Yes
  AT                  189416              923481227     JP MORGAN AND CHASE                           Yes
  AL                  742260              011769340     EMPLOYED                                      Yes



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Patient's                                                                                       Assignment
 initials      Group ID          Health Plan ID                Primary Policy Holder Employer   of Benefits
    AS                                   HHP951424    YORK HOSPITAL IN MAINE                        Yes
   AG                   714484            922688757   ASSOCIATED INTEGRATED SUPPLY SOLUTIONS        Yes
    AA                  3u9224            944936608   GAME READY COOL SYSTEMS                       Yes
   ALD                  904273            921569691   UNIQUE VACATIONS                              Yes
    AA                 0304000            244578611   GE                                            Yes
   AG                  6W1938             916356862   EMPLOYED                                      Yes
   AG                    13282            903858697   XX                                            Yes
    AJ                 NY20392          1243220903    CATSKILL REGIONAL MEDICAL CENTER              Yes
    AS                 1M5637             955045597   PRIVATE                                       Yes
    AS               78-360001       21357114GEHA     UNKNOWN                                       Yes
    AS      (80840) 9113902602       30437123GEHA     XXX                                           Yes
    AA                  708963            941765257   COGNIZANT                                     Yes
    AB               76-412122             16185909   PRIVATE                                       Yes
   AG                   700560            914643164   SHAMROCK                                      Yes
    AC                  905695            967019481   NORTH AMERICAN COLE                           Yes
    AF                  707837            959436827   STATE OF RHODE ISLAND                         Yes
  AMN                   731382            956320431   BOUCHARD TRANSPORTATION                       Yes
   AO                347917111        999611270354    JOHNSONS WELDING PRODUCTS                     Yes
   AO                   908528            916885752   JOHNSONS WELDING PRODUCTS                     Yes
  AMC                    XA117      WCX389AD0115      EMPLOYED                                      No
  AMC                   713146            906766673   DM BOWMAN TRUCKING INC                        Yes
   AJB                  907088            918230136   UNKNOWN                                       Yes
    AA                  715319            921942862   NATIONS ROOF                                  Yes
    AA       000IRU83401AP001         IRU007737300
    AA                  108000            820478514   WELLS FARGO                                   Yes
    AC                  711558            927955376   CHARITY WHOLESALE GROCERIES                   Yes
   AD                   712124            801445815   N/A                                           Yes
   AD                   702561            919221664   PETER KIEWIT                                  Yes
   AG                   705816            958051586   XXX                                           Yes
   AG                   907826            912355254   FORTIZ                                        Yes
   AH                   755718            919498561   WEST CORP.                                    Yes
   AH                   108000            807394150   WELLS FARGO                                   Yes
   AH                   706781            979990129   SKYWEST INC                                   Yes
   AM                   712924            817684280   NONE                                          Yes
    AS                  228604            940034317   MILLER COORS                                  Yes
    AS                  230539            963873838   TEAM INC                                      Yes
   ALD                  744080            910770870   HOWARDS INDUSTRYS                             Yes
    AR                  690100            913348857   BMSF RAILROAD                                 Yes
  AMS                   706206            962230183   MAP CORP                                      Yes
   AH                  0711189            960468180   WHELAN SECURITY                               Yes
   AKE                  709786            870870667   MONTEREY MUSHROOM                             Yes
    AK                   23000            849483756   UNION PACIFIC RAILROADS                       Yes
   AH                   906692            914106465   TELEVERDIE                                    Yes
   AO                   742527            909539753   COCA COLA                                     Yes
    AB                  753728            912766420   GORDMANS                                      Yes
   AAD                  742069            919164379   RURAL METRO.                                  Yes
   AAD             271001M1ID       EHC759M87740      RURAL METRO.                                  No
    AC                  080943   WMJ07604504W02       WALMART                                       Yes
   AD                   701648            955006345   POINT CLICK CARE                              Yes



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Patient's                                                                                     Assignment
 initials     Group ID         Health Plan ID                Primary Policy Holder Employer   of Benefits
   AD                 903157          908 064 731   MAINSTREET RENEWAL LLC                        Yes
   AM                 903247            950646017   LOAN DEPOT                                    Yes
   AN                 537181            935451417   PRIVATE                                       Yes
   AP                 111111         W143677791     SWIFT TRANSPORTATION
   AR                 227943            088244000   FREEPORT-MCMORAN                              Yes
   AS              76-410987             13574439   MATERIALS PROCESSING INC,                     Yes
                                                    SMALL PARTS INC
   AY                708547           828802787     WELLBEING                                     Yes
   AY                240643       WAG846336110      WELL BEING                                    Yes
   AH                729994           867329775     SWAGELOK                                      Yes
   BS                126967           949488610     BALDOR ELECTRIC ABD                           Yes
   BF                702703           928775151     SPECTRUM                                      Yes
   BE                    111          954183917     DUBERRY                                       Yes
   BE                904820           954183917     DEWBERRY                                      Yes
   BC                910531           970484147     UNKNOWN                                       Yes
   BS          331552130001           AA3357365     MISSOURI VALLEY AG                            Yes
   BS                744260           010702330     STATE DEPARTMENT OF CRIMINAL JUSTICE          Yes
   BD                755393           925227133     GEICO                                         Yes
  BM                  RI2274         1315281101     REIS                                          Yes
  BM                 714867           946360838     FARMERS INSURANCE                             Yes
  BM                 108000           950834307     WELLS FARGO                                   Yes
   BS              41192000        YBC17K236311     MO VALLEY AG                                  No
   BS                907749           959203573     CAID INDUSTRIES                               Yes
   BR                908518           941609915     TRANS MONTAIGNE TERMINAL INC                  Yes
   BD                     99          JD5900140     YEAMANS HALL GOLF CLUB                        Yes
  BM                 704244           828712533     HOSPITAL                                      Yes
   BS                906014           940511569     MICROSOFT                                     Yes
   BL                5U1117           914874935     HITCH COCK INC                                Yes
  BRS                226497           941361848     N                                             Yes
   BL                717758           939999578     ATS                                           Yes
   BR                708497           864306043     PARKER HANNISIN                               Yes
   BS                6S7902           959661194                                                   Yes
   BL                908105           965362405     OVERHEAD DOOR                                 Yes
   BP                706459           808023128     CYTEC                                         Yes
   BA                5s2841           922492341     EU MONTAGE                                    Yes
   BB                705214           059711655     MARKETPLACE                                   Yes
   BC                713869           816104667     SNELL CONTRACTORS                             Yes
   BC                742562           937776870     RED ROBBIN INTL. INC.                         Yes
   BF                221775           966375827     UPS                                           Yes
   BI                715228           956718817     ONE OAK                                       Yes
  BM                 714754           969425208     GREY EAGLE DISTURBERS                         Yes
   BO                710587           841807936     BOSTON MARKET                                 Yes
   BR                SBC047         25519549703     RETIRED FROM AT&T                             Yes
   BT                     99           15968866     CITY OF LAFAYETTE ELECTRIC                    Yes
  BW                 755890           914450439     BORDEN DAIRY                                  Yes
   BP                  00000          854703103     SIEMENS                                       Yes
  BDN             76-411042            13806370     WINDSTREAM COMMUNICATIONS                     Yes
   BB                701648           973999198     INSTERITY HOLDINGS INC.                       Yes
   BC                5U8645           958938627     AZMARK AERO SYSTEMS                           Yes



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Patient's                                                                                        Assignment
 initials     Group ID             Health Plan ID               Primary Policy Holder Employer   of Benefits
    BC               03K2587              958 938 627                                                Yes
    BN              76411704                 15489259   STONE TRANSPORT                              Yes
    BP             76-410425                 12819095   MISSOURI VETERANS HOME                       Yes
    BB                 729784               841693906   DUKE ENERGY                                  Yes
    BR             78-340001            304000043302    N/A                                          Yes
    BS            080150SDFZ          TYGT0072764600    TYSON FOODS
    BH                     N/A              930693941   SELF EMPLOYED
    BH             76-412080                 18324277   NURSING HOME                                 Yes
    BS                 701648               865843512   ISLAND MASTER LOCK OR INSPERITY              Yes
    BS                 702014               967234546   MILWORTH DISTRIBUTORS                        Yes
   BW                  8U6058               973231957   EMPLOYED                                     Yes
    BK             76-040221                 12614493   BEST BEND MUTUAL INSURANCE                   Yes
    BF              76411059                 15799793   UC HEALTH                                    Yes
    BB                 742695               924709916   CORIZON HEALTH                               Yes
    BN                 710635               866486906   SCHOOL DISTRICT                              No
    BB                  23000               941413035   RAILROAD EMPLOYEE                            Yes
    BP                 702898               967451188   BEN E KEITH                                  Yes
    CC                 706539               847211881   CITY OF COLUMBUS                             Yes
    CC                 701388               953885337   CVS HEALTH                                   Yes
    CF                 906034               904986481   BULL MOR                                     Yes
    CK              76411182                Y13970832   RUDOLPH FOODS                                Yes
    CT                 7u5395               904011565   EXPEDIENT LOGISTICS                          Yes
   CGD                 704203               976050226   GUARDIAN LIFE INSURANCE                      Yes
    CG                 709155               000449527   BROOKDALE SR LIVING                          Yes
    CP                 AT2285               949167505   UE SYSTEMS                                   Yes
    CS                 6G9601               928369362   PRINTING CO                                  Yes
    CY                 709588               927599387   DEER VALLEY SCHOOL DISTRICT                  Yes
    CH                  6j2611              878959024   ARCHITECTURAL CONTROL SYSTEMS                Yes
    CC                 905563               927910712   VALENCIA COMMUNITY COLLEGE                   Yes
    CA                 742026               940566786   STAPLES                                      Yes
    CL                 229050               802003700   CENTURY LINK                                 Yes
   CW                   90267                94745437   HYATT REGENCY LAKE TAHOE                     Yes
   CSS                 199409             818 584 182   SOUTHWEST AIRLINES                           Yes
    CA                 904307               942842005   O'SIEGE MARINE                               Yes
    CB                 247848               820937846   CHEVRON MANUFACTORY                          Yes
    CH                 702561               912643440   KIEWIT                                       Yes
    CH             002319864            AYH983553202    EMPLOYED                                     No
    CL                 690100               872305825   NORTHINGTON SANTA FE                         Yes
   CM                  714788               920494582   JARDEN CORP                                  Yes
   CM                  714722               920494582                                                Yes
   CM                  714788               920494528   UNITED STATE SPLAYING CAR COMPNAY            Yes
   CM               76410329                 17759205   SMURFIT CAPPA                                Yes
    CP                 904280               968199958   BIRD ELECTRIC                                Yes
    CD                 704043               925342581   PRIVATE                                      Yes
    CF                 722266    912244283 / 00012725   AT&T                                         Yes
    CB                 703995               903485059   ENTERPRISE RENTAL CAR                        Yes
    CH                      99              923383013   TAMPA POLICE DEPT                            Yes
    CC                 902838               974477031   AMR                                          Yes
    CA                 717518               879607804   SIDE TRUCK CENTER                            Yes



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   CC                   714867            964693776   FARMERS                                      Yes
    CF                  701648            859563910   ROLLBOND CONVERTING                          Yes
    CL                  189416            953892876   CHASE JP MORGAN                              Yes
   CG                   196819            801834563   PROCTOR AND GAMBLE                           Yes
   CM                   902627            928306989   HYATT CORPORATION                            Yes
   CSF                  709955            945122601   ST MARY'S REGIONAL MEDICAL CENTER            Yes
    CS                  702966            974811825   N/A                                          Yes
    CL                  744173            006539656   EMPLOYED                                     Yes
   CG                   902863            977447904   SWIFT TRANSPORTATION                         Yes
   CR                 76410691             15748049   DICKTEN MASCH PLASTIC                        Yes
   CA                   902715            905948860   MARKET PLACE                                 Yes
   CC             5400-007228             C05384284   GRAND TRANS NISSAN                           Yes
   CD                   P03293        YLS890872655    00                                           No
   CG        uhc grp 78-360001           911390260/   NATIONAL GUARD                               Yes
                                      30155015geha
   CJ                  5u0045             979475908   GUARANTEE ELECTRICAL COMPANY                 Yes
   CL                  002328             970438941   PHYSICAL THERAPIST                           Yes
  CM                   708087             957132090   FREEMAN                                      Yes
  CM                   744260             002381110   TEXAS DEPARTMENT OF CRIMINAL JUSTICE         Yes
  CM                   701388             923403319   CVS                                          Yes
  CO              201045A010        WRY154M82994      WEST ROCK                                    No
   CS                  908754             958083524   RONANOFF                                     Yes
   CS                  P03123         YLS890506237    FRANKLIN COUNTY SCHOOLS                      No
  CT                     xx46              D5716845   GASTON COMMUNITY ACTION                      Yes
  CTP                  743065             977048743   INSIGHT GLOBAL                               Yes
   CL                  704285             947117407   NA
  CA                76-140149              16939429   MASTER CRAFTSMAN BOAT BUILDERR               Yes
  CB                   908012             926187360   CLAY COUNTY SCHOOLS                          Yes
  CN           7203510110013            w210955292    CSL PLASMA                                   Yes
   CF                  709759             972342454   PRIVATE PLAN                                 Yes
  CW                76-412120              16265073   SANDALS PUBLISHING                           Yes
  CR                78-800080          708rj3717449   FUSION BOILER WORKS                          Yes
  CD                   030500         YLS890090684    NY STATE DEPT                                No
  CK                   730727             951256572   SPRINGLEAF FINANCIAL                         Yes
   CL                  908960             965203690   AARONS FURNITURE AND LEASE                   Yes
  CB                76-412630              18027527   SOUTHEAST ALABAMA MEDICAL CENTER             No
  CE                   730455             920956540   STANLEY ELECTRIC                             Yes
  CH                   182019             840809650   MORGAN STANLEY                               Yes
   CZ                 0182019             953319173   MORGAN STANLEY                               Yes
  CG                   9R9452             915881265   CLASSIC STONE WORKS INC                      Yes
   CL                  907981             918169349   RNR DONNELLY
  CH                   1U2997             952466247   MCDOWELL PACKAGING AND ADVERTISING           Yes
   CZ            195937M801         XFW114A21412      STRIVE ACADEMY                               No
   CZ                  911385             948010050   *                                            Yes
  CH                   712854             983753148   SADDLE CREEK CORP                            Yes
   CS             5400002848              C05152746   NORTH WEST AMBULANCE OWN COMPANY             Yes
  CD                   755184             944654651   ST PRECISION INC                             Yes
  CG             7676-411920               16204500   ABBOTT LABORATORIES                          Yes
   CF                                  hp542596902    ALLIED PRINTING                              Yes



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   CW                  229050            849677079    RETIRED PHONE COMPANY                         Yes
    CC                     na            024460030    DELL                                          Yes
   CDK                    Unk                  Unk    PERFORMANCE FOOD GROUP                        Yes
   CD                  199409            954709136    PRIVATE                                       Yes
    CL                    111            940391338    MAY STEELE                                    Yes
    CS                 905128            925502074    EMPLOYED                                      Yes
   CLA                 906014            901916810    MAN POWER GROUP INC.                          Yes
   CM              76-411264              14198468    BADGER LIQUOR INC                             Yes
   CD               76411829              16149451    **                                            Yes
   CG              76-410926             Y17391378    ROCK PORT COMMERCIAL VEHICLES                 Yes
   CLH                 5K7113            907742369    TJ'S TRUCK BODIES AND EQUIPMENT               Yes
   CO               76410926           Y 169 064 25   FORREST RIVER                                 Yes
    CP                 715410            936102685    UNKNOWN                                       Yes
    CC                 708793            951944590    GEODIS                                        Yes
   CH                  189416            862976982    JP MORGAN CHASE                               Yes
    CS                  S6001            S06188801    OHIO HEALTH                                   Yes
    CA              76410889              13256912    -                                             Yes
   CM                  752730            945391542    MAKES MOLDS                                   Yes
    CT                  75587            970808986    DOMINOES PIZZA                                Yes
  CWW                  902494            939049309    SYNCHRONY FINANCIAL                           Yes
    CA                 909724            916780623    BEAR COMMUNICATIONS
   DB               76410599              12912155    TT BARDGE                                     Yes
   DH                      99            967930095    COCA COLA                                     Yes
   DB                    0000            972800734    JAM TRUCKING                                  Yes
   DH                  194422            957798444    AMERICAN AIRLINES                             Yes
    DS                 715799            917801493    PENHALL                                       Yes
    DZ                 108000            868610181    UNKNOWN                                       Yes
   DW                  713565            911224930    SANTA ANA CASINO                              Yes
   DA                  702909            822160720    UL                                            Yes
  DDV              76-410425              12813996    STATE OF MISSOURI                             Yes
    DF                 755335            941051849    RALPH LAUREN                                  Yes
    DJ                 108000            933768883    WELLS FARGO                                   Yes
   DN                 7U2295             936245245    BRANDON HYUNDAI                               Yes
    DS                 AT2285          1284652201     UNKNOWN                                       Yes
    DS             76-520061         505000303385     WABASH INTERNATIONAL
    DS               3332199          u3907274502     MIAMI DADE SCHOOLS                            No
    DT                tc22763          1185658301     TVB CORP                                      Yes
    DL                 742823            945271774    ADVANCED MEDICAL CARE                         Yes
    DL                 742823            954997829    ADVANCED MEDICAL CARE                         Yes
    DP             76-550025              15967196    BPN                                           Yes
   DW                  2x8123            911087319    ANIMAL CARE OF ARLINGTON                      Yes
   DC                  714946            940317130    UNK                                           Yes
   DW                  716243            957812601    TWIN LAKES THERAPY AND LIVING                 Yes
   DW                  200373            935115765    TRINITY
   DB                  702778            919981254    JACBOS ENGINERING                             Yes
    DK                 706781          959 144 365    SOUTHWEST AIRLINES                            Yes
   DC                0W0674              924504506    SUGAR CREEK CONSTRUCTION                      Yes
   DW                  9r7505            937839644    INTERCOM CHEMICAL                             Yes
   DH               76040221              12614197    WEST BEND MUTUAL INSURANCE                    Yes



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   DH                 903157            948696568   MAIN STREET RENEWAL                            Yes
   DA                 752687            931625403   SPIRIT AIRLINES                                Yes
   DP                 710711            952155282   ATT                                            Yes
  DAM                 712525            941417995   JONES LING LASSALLE                            Yes
   DB                 744260            007846740   STATE OF TEXAS                                 No
   DC                 168504            958804643   UNITED HEALTH CARE                             Yes
   DH                7421956            816905614   PRINCIPAL FINANCIAL                            Yes
   DH                 222244            815445691   T-MOBILE US INC.                               Yes
    DL                   500            891074595   SYRACUSE CITY SCHOOLS                          Yes
    DL                168505            804794892   EMPLOYED                                       Yes
   DM                 906198            965017361   ASHLEY FURNITURE                               Yes
   DM                  27696        XJBH25402474                                                   No
   DN                ac36412          1092906701    SELF EMPLOYED                                  Yes
   DO                 704043            950922279   FLUOR                                          Yes
   DT              76-411409             14612962   JERSEY COMMUNITY HOSPITAL                      Yes
   DM              76-412363             18165960   RMH FRANCHISES                                 Yes
   DE                 904006            936916104   UNKNOWN                                        Yes
    DF                108000            954695950   WELLS FARGO                                    Yes
   DH                 901632            912365879   PHOENIX SHERIFF DEPARTMENT                     Yes
    DS              76520006             17260443   BOSSARD HOLDING                                Yes
    DS              76520006             17260443   ARROW SPACE SOUTHWEST                          Yes
    DS              76520006             17260443   ARROW SPACE SOUTHWEST                          Yes
   DB                 197944            837845107   PORT AUTHORITY TRANS HUDSON                    Yes
    DS             76-412008             16259977   ?                                              Yes
   DP                 729710            862852172   NA                                             Yes
   DR              76-510041             14690375   NEXSTAR BROADCASTING COMPANY                   Yes
   DM                 095365            909172403   THE RETURN GROUP                               Yes
   DD                 Y98000        YLS890256420    EMPLOYED                                       No
   DE                 249023            924126249   UNKNOWN                                        Yes
    DS                909159            948688521   SUPERIOR PLASTIC PRODUCTS                      Yes
   DR                 168504            912833193   NA                                             Yes
    DS                189416            864428728   JP MORGAN CHASE                                Yes
   DCA                742301            940750000   DOKA                                           Yes
   DCA               3340889        U64485806 01    DOKA USA, LTD.                                 Yes
   DE                 8U3972            902114248   EQUIPMENT RENTAL                               Yes
   DM                 030500            890701160   RETIRED                                        No
    DS                226310            033045101   NW AIRLINES                                    Yes
    DS                729704            942378143   SAVIC PLASTICS                                 Yes
   DT             9118772604            932802509   AT&T                                           Yes
   DT              78-800073        704000188509    PC TELCOM                                      Yes
   DK              76-140149             12504944   MASTERCRAFT BOAT CO                            No
   DT                 907371            932601501   XXX                                            Yes
   DV               76412182             17645039   STICO IND                                      Yes
   DH               76412342             17213200   ALOE SOURCE                                    Yes
   DB                 902291            936557725   N                                              Yes
   DC                 705109            835304782   SCOTT TRADE INC                                Yes
    DS                708831            873105730   BALTIMORE CITY POLICE                          Yes
   DC                 704773            901586291   GREY STAR                                      Yes
    DF                   unk            937693623   UHC                                            Yes



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   DG               76-411857               16566333   WATER STONE MORTGAGE                         Yes
   DM               800195500                    uhc   CANADIAN PACIFIC RAILROAD                    Yes
   DM                   23000             800195500/   CANADIAN PACIFIC RAILROAD                    Yes
                                  5201890100978236
   DH       87726 RxBin: 005947            922536778   ACUSHNET                                     Yes
   DG           331-07660-0001            ABO141908    ST LOUIS WHOLESALE TIRE                      Yes
  DW                     743753            813056691   AICHA FORGE                                  Yes
   DD                    228485            923529180   ORACLE                                       Yes
  DW                      00000            890082395   MOHAWK CORRECTIONAL                          Yes
  DM                        111            910813639   REPUBLIC SERVICES                            Yes
   DF                    907921            965311759   CHA TECHNOLOGIES                             Yes
   DH                   2U9253             973959193   EMPLOYED                                     Yes
   DS                    714929            000124783   N                                            Yes
   DS                    742527            927047692   COCA COLA
  DW                 76-411816              16188488   X                                            Yes
  DW                     742527            918644470   COCA COLA                                    Yes
  DM                     714081            946287216   DEPT OF VETERANS AFFAIRS                     Yes
   DA                    704482            952440337   FLIGHT OPTIONS                               Yes
   DA                    704482            952440337   SKY ONE FLIGHT                               Yes
   DB              5400-004621             C05301608   CONTRUCTION ONE                              Yes
  DM                     0X9681            924587327   FACCHINA CONSTRUCTION OF FLORIDA             Yes
  DW             866213-20-028          W211934161     DEPARTMENT OF DEFENSE                        Yes
  DW                     752888            962451723   XXXX                                         Yes
   DT                        99            952669065   LOWE'S HOME IMPROVEMENT                      Yes
   DT                    742883            952669065   LOWES HOME IMPROVEMENT                       Yes
  EMT                    189416            853412299   CHASE BANK                                   Yes
   ER                    905094            928889983   NCSA                                         Yes
   EN                    700639            921462141   KINBER MORGAN                                Yes
   EH                  01U2992             955555047   WISE CONNECT                                 Yes
   EG                    716624            912205020   VESTAS                                       Yes
   EG                     23000            953991200   BNSF RAILROAD                                Yes
   EH                    706778            865790279   DOUGLAS COUNTY ACCESSOR                      Yes
   ET              277163M001        MPI01413953Q/     CBS STUDIOS                                  Yes
                                      102608939 ubh
   EF              5400007152              C05336370   EMPLOYED                                     Yes
  EB                   PC0057          TEK829302520    ETCOS INC                                    Yes
  ER                   190478              958860874   ZURICH INSURANCE                             Yes
   EF                76412551               17899298   UNK                                          Yes
  EC                   906166              920654320   EMPLOYED                                     Yes
  EH                   304000              958113981   GE                                           Yes
  ER                   271057              955265392   BRIGHT HOUSE                                 Yes
  EPF               76-411406          406001287102    COMO ELECTRIC                                Yes
  ED                   715340              919529166   GREEN TOKAI                                  Yes
  EH                   709715              922635493   N/A                                          Yes
  ER                   182232              908589698   SHELL OIL                                    Yes
  EA                  04U1632              949142996   MADDEN BOLTS                                 Yes
  EA                   710463              901839880   VONES                                        Yes
   EL                  729671              900027862   CHILDRENS HOME SOCIETY OF CALIFORNIA         Yes
  EM                   710702              964334907   NA                                           Yes



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   EM                 706254            917747192    KEYBANK                                           Yes
    ES                    11            941605476    BURO GLOBAL                                       Yes
    EC                222244            925091629    TMOBILE                                           Yes
   EM                NY20392          1034475803     FLUSHING HOSPITAL                                 Yes
    EF          11111111111             936302050    TARGET                                            Yes
    ES                730727            941457575    SPRING LEAF FINANCIAL SERVICES                    Yes
   EHH                706717            878097003    CH ROBINGSON                                      Yes
    EF                753914          930 064 084    SAN ANTONIO WATER SYSTEMS                         Yes
    EG               0117482            977873107    SHISEIDO                                          Yes
   FM                 186359            000419201    US BANK MORTGAGE                                  Yes
    FF                1u5086            919128108    UNKNOWN                                           Yes
   FVG                226310            024559100    DELTA AIRLINES                                    Yes
    FG               8102584            963518189    WHOLESALE EQUIPMENT OF FRESNO                     Yes
   FM                 AT2285          1177836301     WHOLESALE POSTER FRAME                            Yes
    FT               7088868            830826105    TRANSGUARD INS CO.                                Yes
    FC             76-410846             17358036    ALDI LOGISTICAL                                   Yes
    FP                742942            960701397    COLUMBIA PRESPITARIAN                             Yes
    FR                411095             13722339    SOCIAL SERVICES OF NEW YORK                       Yes
    FT            76-411-828             15896072    TOLUNAY-WONG ENGINEERS, INC.,                     Yes
    FT                702937            969914495    PRIVATE POLICY                                    Yes
   FLC                794802            972036119    EVOQUA                                            Yes
    GS                168504            870571882    UHC                                               Yes
    GS                   xxx            102892271    XXX                                               Yes
    GL                755331            000125147    NORFOLK SOUTHERN                                  Yes
   GN                 704572            938445124    LIBCO TRAVEL                                      Yes
    GF           5400005409             c05241783    WINSROW IN PARANOVA                               Yes
   GG                 910522            932077603    EMPLOYED                                          Yes
    GC                715537            924926875    CASCADE CORPORATION                               Yes
    GR                707990            969664700    BENNIHANNA                                        Yes
    GT                715117            968761763    PEARL RIVER COUNTY                                Yes
   GH                 905016            903429075    TECH BTKA                                         Yes
   GM                  95378           JD 553 2179   TOMPKINS AND MCMASTER, LLP                        Yes
    GT                702380            848121516    MAC                                               Yes
   GH                 903105            914369778    INSURANCE OFFICE OF AMERICA                       Yes
    GB              76412107             17692507    INTERIOR RESOURCE GROUP                           Yes
    GC               00U0474            951646344    HOPE INCORPORATED                                 Yes
    GK                905536            924095608    OHARA CORPORATION                                 Yes
   GG                 744173            011967099    WALMART                                           Yes
    GC                752848            904432218    ALORICA                                           Yes
   GG                 905890            937084923    OIL FIELD OFF SORE RIDGE DRILLING IN ISRAEL       Yes
    GL                702778            944829934    EMPLOYED                                          Yes
    GF                375235            932957947    POSATA'S CAFE                                     Yes
    GR                4w2506            972260506    CLOUD BREAK                                       Yes
   GCI              76411059             13821559    UNIVERSITY HOSPITAL OF CINCINATTI                 No
   GH               76412183            Y16674482    CUTALL PRODUCTS                                   Yes
   GM                8k05174            905485065    EMPLOYED                                          Yes
  GAW                 6N9000            969612959    N/A                                               Yes
    GC                 23000            800220188    EMPLOYED                                          Yes
   GM               76411920             17677950    ABBOT LABORATORIES                                Yes



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   GV                      6s9170            934690096   HMR DESIGNS                                   Yes
    GJ                  76-410827             17041436   TAYLOR MORRISON                               Yes
   GBK                     712738            853078199   RNDC REPUBLIC NATIONAL                        Yes
   GH                      271057            826150562   BRIGHT HOUSE NETWORK                          Yes
   HF                      708715            975505624   00000                                         Yes
   HB                767002410082             13892047   BRUSH RESOURCES                               Yes
   HH                      744260            001587860   TEXAS DEPARTMENT OF TRANSPORTATION            Yes
   HO                      221775            863259089   UPS                                           Yes
   HC                      709955            949544031   BRENTWOOD BEHAVIORAL                          Yes
   HH                      744173            012043879   WALMART                                       Yes
   HG                   76-411406        406001303782    NATIONAL RURAL ELECTRIC CO-OP ASSOC           Yes
   HM                      730090            927531716   ESTEE LAUDER                                  Yes
    HL                     126927            960475807   NA                                            Yes
    HL                     201057            927829906   RAYTHEON                                      Yes
   HLA                     100400          934 718 407   CATERPILLAR OF ILLINOIS-RETIREE               Yes
   HR                      715806            959119614   MULTIPLAN                                     Yes
   HT                      712777            860258228   REPUBLIC NATIONAL BEVERAGE                    Yes
   HK                      907853            967294584   BLACK HORSE CARRIER                           Yes
   HA                      311020        DEF825709197    OFFICE DEPO                                   Yes
   HR                      189416            844812763   JP MORGAN                                     Yes
    HJ                       XXJB            JD5553509   WEST GEORGIA ELECTRIC- NON UNION              Yes
    HJ           762097-010-00700         W232327272     WEST GEORGIA ELECTRIC                         Yes
   HK                      419975            966986466   PAULS ELECTRIC                                Yes
   HF                      108000            909804079   WELLS FARGO                                   Yes
   HK                      902715            965780629   PRIVATE POLICY                                Yes
   HW                      711057            953558740   MISSION PHARMACAL                             Yes
   IM                   76-410804             13430107   ORTHO INDY                                    Yes
  IMM                      477269            816273646   ULTRA PLATTING                                Yes
    IN                    0902938            944977782   PRIVATE                                       Yes
    IS                     706173            935961123   STATE OF OHIO                                 Yes
    IC                     702259            838343160   ROYAL CARIBBEAN                               Yes
    IS                     902460            970672512   PLEXUS WORLDWIDE                              Yes
    IB                    3M8798             984397948   SELF EMPLOYED                                 Yes
    IH                     700406            914515011   APPLE INC.                                    Yes
    JB                     712790            972721751   COLUMBIA UNIVERSITY                           Yes
   JBI                 9151014609             30239030   VA HOSPITAL                                   Yes
    JB                   76411920             16204819   ABBOTT LABORATORIES                           No
     JI                        **            890751372   DEC                                           No
    JH                     226310            040490404   DELTA AIRLINES
    JH                     226310            040490400   DELTA AIRLINES                                Yes
    JS                     690100            950377413   UNKNOWN                                       Yes
   JW                    76430125             13604751   ST. ANTHONY'S MEDICAL CENTER                  Yes
    JG                        111            027727800                                                 Yes
     JJ                    189416            920669474   CHASE                                         Yes
    JK                  76-430102            Y13517350   AIR METHODS                                   Yes
    JR                   76412415             17270893   LIPARI FOODS OPERATING COMPANY LLC            Yes
    JS      503777/BEACON SBC200            816517416/   AT&T                                          Yes
                                     BEACON 00476835
   JT                  76-420-127            Y16783854   UNIVERSITY FEDERAL CREDIT UNION               Yes



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    JT                   702561                838518642    KIEWIT INC                                    Yes
    JT                   711809                959632895    KOHLER                                        Yes
   JW                    743297                979812855    TRILOGY                                       Yes
   JW                    701439                911386174    PETSMART                                      Yes
   JW                    902715                940595474    AFFORDABLE CARE ACT
    JC                   136572                929152982    BNY MELLON                                    Yes
    JR                      y7km              jd59099035    DELTA RESORT & SPA                            Yes
    JR                      y7km                jd5909035   DELTA RESORT & SPA                            Yes
   JM                    3U1698                971171615    ALLIED ELECTRICAL CONTRACTORS                 Yes
    JB                    JF7825               926321301    JBFCS                                         Yes
    JB                   227037                971379505    HEWLETT PACKARD
    JC                   503777    03850730503 beacon or    AT&T                                          Yes
                                         UHC 942647268
    JE                228733                   948950944    COMPASS GROUP                                 Yes
    JH                 76406               406001435614     TRI STATE GENERATION TRANSMISSION             Yes
   JJB                742022                   971630022    EMPLOYED                                      Yes
  JMP                OU9930                    968545824    AAA SALES AND ENGINEERING                     Yes
   JO                5W9366                    953577895    SOUTHEND EXTERIORS                            Yes
    JP                907261                   910138155    PRIVATE                                       Yes
    JP                744646                   920993267    FARMERS INSURANCE                             Yes
    JS                716872                   971405685    TEAYS VALLEY LOCAL SCHOOL DISTRICT            Yes
   JM                 703916                   956468298    EMPLOYED                                      Yes
    JT                709955                   913789131    ST THOMAS BY THE SEA HOSPITAL.                Yes
    JH              76520061               505000007137     WABASH NATIONAL                               Yes
    JG                902565                   956533723    HIGHLANDS                                     Yes
    JG                717297                   910494921    FRESENIUS MEDICAL CARE                        Yes
    JJ                189416                   973906402    JP MORGAN CHASE                               Yes
    JB                3s0295                   913955708    UNKNOWN                                       Yes
    JC                703952                   977161760    EMPLOYED                                      Yes
    JC                907273                   950247199    TKO GRAFFIC                                   Yes
    JT                710341                   955594162    SALLY'S BEAUTY HOLDINGS, INC.                 Yes
   JU                 199409                   850174092    SOUTHWEST AIRLINES                            Yes
   JJG                228485                   903614971    ORACLE                                        Yes
    JB             76-411932                     16113943   CAT SCANS                                     Yes
    JJ                030500                   890239378    LONG ISLAND RAILROAD - UNION POLICY           No
    JB                7N5619                   944511453    OAK TREE NATIONAL                             Yes
    JH                199409                   920029523    SOUTH WEST AIRLINES                           Yes
    JS                705729                   971149337    SITEL CO                                      Yes
    JP             76-412205                     17112441   PRIVATE                                       Yes
    JV                4u4682                   960420780    RUTTS HEATING AND AIR                         Yes
    JS                711943                   955149738    XCEL ENERGY                                   Yes
    JS                108000                   976289240    WELLS FARGO                                   Yes
    JF                188331                   912159182    PRE COAT METALS                               Yes
    JB                    99                   007660727    WALMART                                       Yes
    JR                902862                   911446907    UOP                                           Yes
    JS                503777                   909899890    AT&T                                          Yes
    JB                906292                   951919541    VOITH                                         Yes
    JB                752353                   946335745    VOITH                                         Yes
    JB                702387                   854220743    PALM COAST DENTAL                             Yes



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    JB                   702387             854220743   PALM COAST DATA                                 Yes
    JB                   712673             904623495   AT&T                                            Yes
    JC                   191690             820914073   FRITO LAY                                       No
    JK                   714211             928476913   SAVA SENIOR CARE- SENECA HEALTH AND REHAB       Yes

    JK                 TD056           MM672115351                                                      Yes
    JK                242447              710844671     STANDARD IMPORTERS                              Yes
  JLM                 703916              956468298     EMPLOYED                                        Yes
    JS                710264              950774418     RACION                                          Yes
    JT                7U4775              948951895     PROPAINE                                        Yes
   JH                 711809              943813216     KOHLER COMPANY                                  Yes
    JP                906302              909916809     TENNESSEE BUN COMPANY                           Yes
    JP               2499138            U5370705603     DAL-TILE/UNILIN                                 Yes
   JD                 346415              840598508     SPECIALTY CARTS INC                             Yes
   JH              78-360001                22691785    DEPT OF VETERAN AFFAIRS                         No
    JK                    11              870159155     WELLBRIDGE                                      Yes
   JM                 7U0269              932192297     PIPE RENEWAL SERVICE                            Yes
   JPJ                704966              940747581     YOUTH VILLAGES                                  Yes
   JR              78-360001             9113902602     US POSTAL SERVICE                               Yes
    JS                7U2269              911666686     CIS COMM INTERGRATED SPECI                      Yes
    JS                700789              961370311     RPM WOOD FINSHING GROUP                         Yes
    JS                743193              940287010     TACO MAC                                        Yes
    JF             76-411042                16489515    PHONE COMPANY                                   Yes
    JC                709588              959717683     NONE                                            Yes
    JC                185002              972429126     TARGET                                          Yes
    JC                304000             976 180 664    GE                                              Yes
   JD                0753836              908826613     EMPLOYED                                        Yes
   JLL             434291551           DJO434291551     SCAFFOLDING RENTAL                              Yes
   JLL                902942              933210776
    JL             76-412505                17897963    SW BEHAVIORAL HEALTH                            Yes
    JS                742781              932192233     PERFORMANCE FOOD GROUP                          Yes
    JP                196819              974637922     P&G                                             Yes
    JC                707837             8574511319     CORRECTION OFFICER                              Yes
   JH                 204781              965265570     CORNING                                         Yes
    JJ               0081693                16899309    ALTO-SHAAMS                                     Yes
    JK                904957              914326772     PRIVATE POLICY                                  Yes
    JS                712670              917062815     AT&T                                            Yes
    JS                704043              965743266     WESTINGHOUSE TOSHIBA FLUOR                      Yes
   JB                 905691              933009379     UNKNOWN                                         Yes
  JRP                 742943              858667480     NORTEK GLOBAL HAVAC INC                         Yes
   JR                 3U1868              966528047     SUNSTATE FORD                                   Yes
   JR                                  XJGH55271836
    JS                   709848           813105869     OSRAM                                           Yes
    JT                   709155           000528987     BROOKDALE SENIOR LIVING                         No
    JS                      xxxx          955895795     TESLA                                           Yes
    JS                   730152           945050705     HCA                                             Yes
    JP                   108000           834002002     WELLS FARGO                                     Yes
   JH                    706206           835886625     LAB CORP                                        Yes
   JH                    032500            431729-00    REES OFFICE PRODUCTS                            No



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     JH                    730152             966180151   HCA                                          Yes
     JB                    700741             932977905   TECHDATA                                     Yes
     JA                    200373             960797894   TRINITY INDUSTRIES                           Yes
     JA                    903030             943642282   SCHOOL DISTRICT                              Yes
     JA                    905104             918732168   YMCA                                         Yes
     JB                    708705             858408337   NA                                           Yes
     JB                    708809             938881029   ROTO ROOTER                                  Yes
    JCJ                    701637             931177670   ARCO MURRAY INC                              Yes
     JC                 76410425               12819240   MISSOURI COURTS (STATE OF MISSOURI)          Yes
   JDK                           -            918119438   ABRA AUTO BODY AND GLASS                     Yes
     JD                    703995             849210427   ENTERPRISE                                   Yes
    JFJ                    905754             966822650   LOVES TRAVEL SPOT                            Yes
     JF                    730090             818797106   ETEE LAUDER                                  Yes
     JH                    6U6279             932066464   BEACHES RECOVERY                             Yes
     JH                76-411976               16246729   UNKNOWN                                      Yes
     JJ                    905754             966822650                                                Yes
     JL                76-550017               13484567   BINART                                       Yes
    JOJ                    710264             922359144   RAYTHEON COMPANY                             Yes
     JS                    229556             957739263   CITGO PETROLEUM AND REFINING                 Yes
     JT                      94265            953454929   ABR AUTOBODY                                 Yes
    JW                     715330             825082621   PAUL FACCHINA CONSTRUCTION                   Yes
    JW                       W32C         A64825003547    PAUL FACCHINA CONSTRUCTION                   Yes
     JB                    199409             902668680   SOUTHWEST AIRLINES                           Yes
    JW                     742773             973772475   NEILSEN MEDIA RESEARCH                       Yes
     JH                    712525             979558178   JONES LANG LEFALLE                           Yes
     JT                    023000             807547395   PRIVATE                                      Yes
    JJB                    744173             003051666   WALMART                                      Yes
     JL                    755393             921757831   GEICO                                        Yes
     JC                    lbm363     Lbm105248724001     34 LUMBER                                    No
     JC                    1U2486             968864109   PRIVATE                                      Yes
    JM                   0759466              968072619   BIG HALL INC                                 Yes
    JM                     7U1918             938412267   CITIZENS BANK OF LOGAN                       Yes
    JM    RX Group Number - GHS01          10085926301    TMG HEALTH                                   Yes
   JRM                     7S9466             968072619   BIG HALL INC                                 Yes
     JR                    706781             979990129   SKYWEST, INC.                                Yes
     JD                    108000             873335456   WELLS FARGO                                  Yes
     JH                    715165             975030616   CPI CARD GROUP                               Yes
     JB                    905500             908350808   CAROLINA GOLF ACADEMY                        Yes
     JG                    5u5490             927567635   HRM SERVICES                                 Yes
     JG                    5U5490             922496992   JORDON GIFFIN                                Yes
     JG                    191698             836122635   BRISTOL MYERS                                Yes
   JNB                           0             13513621   ?                                            Yes
    JFH                    729751             973969215   SEPHORA                                      Yes
   JMS                     709713             900457021   ROTEC HEALTH CARE INS                        Yes
   JMS                 716071602       RHJ418986133028    RHEMA MEDICAL                                No
   JMS                 716071604       RHJ418986133028    RHEMA MEDICAL                                No
     JG                    703910             979238181   ENTERPRISE BANK                              Yes
     JB                76-411042               17102452   WINDSTREAM COMMUNICATIONS                    Yes
     JB                    1U7487             958581938   N/A                                          Yes



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    JD                729751             971277423   SEPHORA                                      Yes
    JF             76-411127              15233641   MORRYDE                                      No
    JJ                710711             810876011   AT&T                                         Yes
   JM                 904069             939381773   AAG                                          Yes
   JM                 168504             932322533   UNITED HEALTHCARE                            Yes
    JP                755875             902486963   AIRMARK                                      Yes
    JP                221775           923153189 /   UPS                                          Yes
                                        BH 0825025
    JP                904936             974271399   ROCKWELL AUTOMATION                          Yes
  JRA                 NP6941          112 491 7302   NEW PALACE PAINTER'S SUPPLY                  Yes
  JRA                 np6941           1296287301    NEW PALACE PAINT
    JS                710711             928492218   ATT@T                                        Yes
   JV                 905509             904157783   LIBERTY MUTUAL                               Yes
   JB               76430014              14172372   CPC LOGISTICS                                Yes
    JS                712886             947753830   BLENGER BONE                                 Yes
   JB                 3s4755             915968458   FIREMAN                                      Yes
  JCB                 7U3838             900035698   UNKOWN                                       Yes
    JC                274772             951361091   UNKNOWN                                      Yes
    JC                     99            951361091   OLIN CORP                                    Yes
  JDK                 743370             942140510   STREAM COMPANY                               Yes
    JE                1U4028             957250582   AUTO MOTOR                                   Yes
    JJ                185002             854609456   TARGET                                       Yes
   JM                 700406             909333427   APPLE                                        Yes
   JN                  GHS01          10026693702    CHILD SERVICES
   JN              76-412343              17350930   GODFREY                                      Yes
   JN                    0000            943643018   PRIVATE PAY                                  Yes
    JP                098400             906488086   MARSH & MC CLENNAN                           Yes
   JR                 701558             974551253   CORE MARK                                    Yes
   JR                 185002             909808382   TARGET                                       Yes
    JT                708002             831004213   N                                            Yes
    JS                752495             949621191   DOLLAR                                       Yes
   JB             9118772604             978737268   LAPRENO                                      Yes
  JSG                 903650             973459143   NEW INDY CONTAINER BOALD                     Yes
  JAD                  9J0664            920269053   IDEAL PRODUCER GROUP                         Yes
   JR                 717263             918523774   CHARLES SHAUB                                Yes
   JR                     n/a            890257037   BRONX SUPREME COURT                          No
    JF                717071             808984604   CITY OF TAKOMA PARK PD                       Yes
   JB                 902715             965532336   PRIVATE POLICY                               Yes
    JC              76140141              12216380   CAROMONT HEALTH,                             Yes
   JM                 108601             100719176   OREGON YOUTHS AUTHORITY                      Yes
   JM                 108601          10069003100    XXX                                          Yes
   JO                 902627             909465722   HAYATT                                       Yes
    JP                213902             857773127   CISCO SYSTEMS                                Yes
    JP                201057             819232801   RATHEON                                      Yes
   JA              76-412224              17389334   PHOENIX FORMULATIONS                         Yes
   JM                   23000            930126487   CSX                                          Yes
   JB              76-410934              14441554   SOUTH MS ELECTRIC                            Yes
    JC                    xxx            948871643   STOKES TIRE                                  Yes
   JH                CC52968           1196807601    SANITATION WORKER STATE OF NY                Yes



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    KS                316332            957536785   HEALTH TECHNOLOGIES                            Yes
   KA               76411820            Y16158114   UNKNOWN                                        Yes
   KC                    xxx            946156164   NATIONAL GENERAL INS                           Yes
    KJ                704482            964273818   FLEX JETT                                      Yes
   KK                 304000            806589195   GE AVIATION                                    Yes
   KA               76410115             13601885   NELSON TREE SERVICE, INC                       Yes
   KT                 744260            008129410   PRIVATE                                        Yes
    KS                9s3003            933419006   STEVE'S PRECISION DENTAL LAB                   Yes
   KC                 023000   NLM118432811001      BNSF                                           Yes
   KO                 701648          9746504058    INSPERINTY HOLDINDS INC                        Yes
   KB                 730328            000014420   SCHNUCKS                                       Yes
   KR                 729784            942490097   DUKE ENERGY                                    Yes
   KW              76-412279            Y17192151   WEST YAVAPI CLINIC                             Yes
   KB                 715014            919187414   NATIONWIDE INSURANCE TRAIL DIVISION            Yes
  KEW                 711809            960083879   KOHLER                                         Yes
   KB              76-410804             13899430   ORTHOINDY                                      Yes
   KK                 189766        YLS890256182    N/A                                            No
    KL                714438            875743468   SCHNEIDER INT                                  Yes
   KW                 717519            968804798   MESSMER CATHOLIC SCHOOL                        Yes
   KW                 209915            952754232   WILLIAM SONOMA INC                             Yes
   KB                 704201            871069892   COBRA                                          Yes
   KB               X0001004       XED905363923     IFP ON EXCHANGE                                No
   KC                 902864            968812254   CROWN EQUIPMENT                                Yes
   KH                5W0709             944515895   CENTRAL CHEIF AND BAR                          Yes
   KV                 729784            830090731   DUKE ENERGY                                    Yes
   KP               76412818             18266100   MID ATLANTIC WASTE                             Yes
   KD                 185002            827889193   TARGET                                         Yes
    KS                815179            967572408   ENDURANCE INTERNATIONAL GROUP                  Yes
   KC                 712820            861640518   CAMAS MILL                                     Yes
   KM                 9N2600            947790198   COLE AND ASSOCIATES                            Yes
   KC                 755814            952279291   BLUE GREEN                                     Yes
   KM                 905213            934188883   CHARTER STEEL                                  Yes
   KD               76411701             15505253   DIRECT TRAVEL                                  Yes
    KF                199409            920948957   SOUTHWEST AIRLINES                             Yes
   KD              76-411151            Y17818795   CORE MOLDING TECHNOLOGY                        Yes
   KH                 8R9850            985538656   HARRISON TRUCKING                              Yes
   KB                1524305            937933610   PRICE WATER HOUSE COOPER                       Yes
   KJP             76-410926            Y13862037   PRIVATE                                        Yes
    KL               8W2530             908545654   LONG'S ROOFING AND SHEET METAL                 Yes
   KW                7W1012             977083241   EMPLOYED                                       Yes
   KW                 744260            002960990   BRASERPORT COLLEGE                             Yes
   KB                 704686            931228849   PRIVATE                                        Yes
   KT                 906570            962778568   DESIGN WITHIN REACH                            Yes
   KJS                704113            001043406   AIG                                            Yes
   KG                0702097            010026199   STATE OF OH INFORMATION TECHNOLOGY             No
   KG                0702097            010026199   STATE OF OH INFRORMATION TECHNOLOGY            Yes
   KM                 905654            968692729   ORBITAL ATK                                    Yes
   KA                 704043            953645236   FAUR CORPATION                                 Yes
   KB                 8R3621            950612622   GARRY D STROMBERG & ASSOCIATES                 Yes



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    KB                    189416                922183573    JP MORGAN CHASE                               Yes
    KC                    743045                820176702    ANAREN                                        Yes
    KC                    228485                964437680    EMPLOYED                                      Yes
    KD                    700563                913052054    ADT                                           Yes
    KG                    704773                951163842    GREYSTAR MANAGEMENT                           Yes
    KG                    908960                926907500    AARONS                                        Yes
    KK                    690100                955422512    CANADIAN NATIONAL RAILWAY                     Yes
    KL                    903283                974051929    KENTON COUNTY AIRPORT BOARD                   Yes
   KO                     904957                907980199    LOST CREEK CONCSTRUCTION                      Yes
    KR                    701254                839284595    UNKNOWN                                       Yes
   KW                   76420268                 17790596    UNITED STATES BEEF CORPORATION                Yes
    KA                    p12709             cda000242109    CUSTODIAN
    KL                 78-360001            30407365GEHA     GOVERMENT                                     Yes
    KS                    1U5256                907043575    LUCKY TRAIN LTD                               Yes
  KDM                     702561                932506715    HEWITT MINING                                 Yes
   KGS                    229670                850879415    DISTRIC ATTORNEY OFFICE                       Yes
   KM                     708624                925537070    GIBSON GUITARS                                Yes
    KS                    714211                851181693    SAVA SENOIR CARE                              Yes
    KV                    744315                906698220    LMC INDUSTRY                                  Yes
    KC                    907419                901485812    COMMUNITY SCHOOL DIST #100                    Yes
   KW                     705214                058251488    PRIVATE POLICY GOLDEN RULE                    Yes
    KP                   1103601               1210135702    EMPLOYED                                      Yes
   KPN                   7020799                966453482    PLAN PARENTHOOD OF WISCONSIN                  Yes
    KD                    712640                938441425    AMERITAS LIFE INSURANCE                       Yes
    KT                    195820                922895818    LEVEL 3 COMMUNICATIONS INC                    Yes
   KDS                    7P4623                810936512    AGILE                                         Yes
    KK                    755742                945957993    UNKNOWN                                       Yes
    KH                    703995                954863994    ENTERPRISE RENT - A - CAR                     Yes
    KG                    228604                918100175    MILLER                                        Yes
    KK                    744575                948025500    NORTH SHORE UNIV HOSPITAL                     Yes
    KK                    705109                909445009    SCOTT TRADE INC                               Yes
    KK                    199409                824181768    SOUTH WEST AIRLINES                           Yes
    KS                 76-430014                 14172217    ??                                            Yes
    KT                    213902                917773909    CISCO                                         Yes
    LD                    703995                849210427    ENTERPRISE                                    Yes
    LJ                    189416                820632227    JP MORGAN CHASE                               Yes
   LM                     227079                846115285    WHOLE FOODS MARKET                            Yes
    LJ                    744194                952306330    GAME STOP                                     Yes
    LS                    2g9427                909328679    C J THOMAS                                    Yes
    LH                     xxxxxx            hpp689689-02    GOLF COURSE IN MAINE                          Yes
    LK                    744612                947857619    EINSTEIN BROS BAGELS                          Yes
    LT                    710571                954781053    ST VINCENTS REGINAL MEDICAL CENTER            Yes
    LB                          .                17131401    COMCAST                                       Yes
                                     (issuer 911-39026-02)
   LG                       dl3266             1290420001    DATALOTT                                      Yes
   LH       184246/ RX Bin 610279               877269720    UNKNOWN CURRENT                               Yes
   LR                      708493               971901494    DALES IN PHONE ROOM                           Yes
  LMS                      744240               915873721    DEPT OF CORRECTIONS STATE OF NE               Yes
   LA                      902782               975524580    JBT CORP.                                     Yes



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   LW                 717726             807763986    NATIONAL ENTERTAINMENT NETWORK                 Yes
    LT                901872             929476721    EVOQUA                                         Yes
    LJ              78800042         703534644438     GULF COAST WASTE                               Yes
    LS                730551             902476415    ATF INC                                        Yes
    LJ                227079             922920762    WHOLESFOOD MARKET                              Yes
   LW                 189416             945068167    JPMORGAN CHASE                                 Yes
    LS                743406             918320128    SPIRIT AIR SYSTEMS                             Yes
    LR                902494             921035314    SYNCHRONY FINANCIAL                            Yes
    LT      000DUS83418YP043        DUS100085851      JBS USA
    LC                752083             954277388    WEC ENERGY GROUP - PEOPLES GAS                 Yes
    LP              dxf66a-01            n32570662    NALC - POST OFFICE                             Yes
   LH                 4P1450             950779549    PREMIER BEVERAGE                               Yes
    LR                701274             917300310    GLAXOSMITHKALINE                               Yes
   LG              76-411406         406001485261     CARTER ET CRAVEN                               Yes
    LB                271057             803708337    BRIGHT HOUSE NETWORKS                          Yes
    LB                908486             953214338    ST. LEONARD                                    Yes
   LH                0752302             908269600    EMPLOYER                                       Yes
    LS              76412316              17209901    KEIHIN                                         Yes
    LT                192086             927532356    CENTURY LINK                                   Yes
    LP                701397             914520769    IVT                                            Yes
    LS                702966             976644480    HEALTH CARE SYSTEMS                            Yes
    LC                703981             000001707    MED LINE INDUSTRIES                            Yes
   LM                 236403             838577612    N/A                                            Yes
   MH                 704660             911595067                                                   Yes
   ML                 2U0584             941410164    THE NORWAY J7 SCHOOL DISTRICT                  Yes
   MC                 716450             865089607    STATE OF MD                                    Yes
   MH                 3G2588             934030146    TELLICO VILLAGE CHURCH                         Yes
   MW                 189416             945120193    JP MORGAN CHASE                                Yes
  MBS              76-411406         406001110982     NRECA                                          Yes
   MM               76410115              13874777    ELSA TREE SERVICE                              Yes
   MS              76-411245              14110229    PLAYCO CONSTRUCTION                            Yes
   MT                 136572             831730361    PERSHING                                       Yes
   MT                 905966             930443773    CITY HALL - CRESTVIEW, FL                      Yes
   MM             5400002197           C 051 358 96   TENNICLE OIL                                   Yes
   MB                   19298            967531055    XXX                                            Yes
   MV                 704660             943448016    WONT SAY                                       Yes
   MH                 902626             902208136    ANKA                                           Yes
   MV                 701274             957286354    GLAXO SMITH KLINE                              Yes
  MES                 218640             902711654    COBRA                                          Yes
   MR                 730491             905779990    CARE SOURCE                                    Yes
  MCH              76-240010         131000124928     GENESCO                                        Yes
   MM                      na          381503935-a    NA
   MP                 701178             837294810    PCSU                                           Yes
   MB                 194422             968268522    AMERICAN AIRLINES                              Yes
   MB                 194716             806417747    ANN INC                                        Yes
   MB              78-360001       30254416 GEHA      NAVAL SURFACE WARFARE SERVICE                  Yes
   MC                      11            924444377    ATT                                            Yes
   MD                 744173             002950996    WALMART                                        Yes
  MGJ                 274772             926596245    OLAND CORPORATION                              Yes



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   MH                      99            873324278   GE HEALTHCARE                                 Yes
   MH                  185002            922695095   UNKNOWN                                       Yes
   MK                  226310            061849500   DELTA AIRLINES                                Yes
   ML                  902849            900854300   MERCURY MARINE                                Yes
   MR                  717241            875404891   CCMSI                                         Yes
   MS                CH13667           1259982101    CHERRY HILL CONSTRUCTION                      Yes
   MT                  906121            930780193   RK MECHANICAL                                 Yes
   MW                  702457            961685053   SIEMENS                                       Yes
   MC                  189416            845906520   J.P. MORGAN CHASE                             Yes
   MJ                  742883            000149473   LOWES                                         Yes
   MK                  709155            000503841   BRICKDALE SENIOR LIVING                       Yes
   MB               76430121              13700417   CONE HEALTH                                   Yes
   MH                  165046            921723554   LOOMIS                                        Yes
   MM                  708697            816140796   AON                                           Yes
   MN                  704534            864874876   SAIA MOTOR FREIGHT                            Yes
   MS                   23000            800437609   BNSS RAILROAD                                 Yes
   MS              788000037         704000685513    XIT TELEPHONE CORPORATION                     Yes
   ML                  701648            966459818   STREET LEVEL INVESTMENTS                      Yes
   MC                  744260            009341100   HEALTH AND HUMANE SERVICES                    Yes
   MH                  108000            954113184   WELLS FARGO                                   Yes
   MCJ        030500 / P03975          890710968 /   EMPLOYED                                      No
                                     YLS890710968
  MD                  755184             970073339   ST PRECISON                                   Yes
  MH                  906639             955762543   BELLVIEW SENIOR LIVING                        Yes
  MH                      00             922790203   PRIVATE                                       Yes
  MH                  906168             956619992   SHIMADZU INSTRUMENTS INCORP.                  Yes
  MH                  742527             813834474   COCA COLA                                     Yes
 MJM               HP043598             HPP544698    CORRECTIONAL OFFICER                          Yes
  MK                  6u8398             967896164   DOESNT KNOW                                   Yes
 MM                 76411825              16138389   HIGHPOINT REGIONAL HOSPITAL                   Yes
  MP                  701648             926071186   MTU                                           Yes
  MR               76-070058         206000168340    HEAVENLY MTN RESORT                           Yes
  MS                  744407             710836629   MCGRAW HILL EDUCATION                         Yes
  MT                  702955             835678215   XXX                                           Yes
 MW                   906274             953596582   UNITED FLIGHT SERVICES                        Yes
  MY                  717095             937203751   INTELLIGERATED CO.                            Yes
  MZ                  708691             852398549   ALLERGAN INC                                  Yes
 MFC                  199501             000623099   CRACKER BARREL                                Yes
 MCS                  214459           294 441 361   IBM                                           Yes
 MM                   729476           9118772604    EMBASSY SUITES                                Yes
  MF                  755545             975411595   IRIS USA                                      Yes
  MR               76-411059              17166707   CHRIST HOSPITAL                               Yes
 MDW                   00017             780226805   CONCO-PHILLIPS                                Yes
  MG                  185002             965869996   TARGET                                        Yes
 MW                 76412293              17087400   MACHINE WORKS                                 Yes
  MP                  227079             923780694   WHOLE FOODS MARKET                            Yes
  MV                  705752             963608454   SCHOOL DISTRICT                               Yes
  ML                  708547             827138451   WALGREENS                                     Yes
 MM                   903046             923693077   EARY INSURANCE EXCHANGE                       Yes



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Patient's                                                                                       Assignment
 initials     Group ID           Health Plan ID                Primary Policy Holder Employer   of Benefits
   MM                 903046              923693077   EMPLOYED                                      Yes
   MH                 700406              973023754   N/A                                           Yes
   MP                 742781              845119277   PERFORMANCE FOOD GROUP                        Yes
   MM             5400007509               05331150   OSM                                           Yes
   MA                 729328              955884841   PANALPINA                                     Yes
   MA                 708493              974098161   FISERV                                        Yes
   MB                 215825              627393900   EMPLOYED                                      Yes
  MCS              76-411693               16504384   UNKNOWN                                       Yes
   MD                 8U4226              812059946   PRIVATE                                       Yes
  MDJ                     111             005095870   WALMART                                       Yes
   MFL                730231              942027408   HEALTH NET                                    Yes
   MF                 3u0058              937078053   NURSE AID                                     Yes
   MG                 710433              910405815   DOUBLE TREE INN AND SUITES                    Yes
   MH                 1u1724              941364916   CLOVER LEAF FARMS
   MH                 185002              944362976   TARGET DISTRIBUTION CENTER                    Yes
   MH            5400-006343              c05269311   ALLIED FENCE BUILDERS                         Yes
   MH                 1X5029              924938818   ALLIED FENCE BUILDERS                         Yes
   MI                 217725              904335577   X                                             Yes
   MI               03X30101              922365854   CARGO COMPANY                                 Yes
   MJ                 904957              952903216   PRIVATE                                       Yes
   MK                 183842              869355873   UNION PACIFIC                                 Yes
   MK                 717587              977008312   SAFRAN                                        Yes
   MM                 708691              902348721   ALLERGEN                                      Yes
   MM               76412315              Y17033751   KEYSTONE STEEL AND WIRE                       Yes
   MM              76-411412               15600225   XX                                            Yes
   MN                 730852              872896905   BERTAFORE                                     Yes
   MP                 742883              976647075   LOWES                                         Yes
  MSP               76142225               16763842   MARUJUAN                                      Yes
   MS                 333000              952120516   NESTLE                                        Yes
   MSS                904532              973253463   EASY WORLDWIDE                                Yes
   MT               76412155               17509156   STEALTH TRAILER                               Yes
  MTD                 711362              933050566   BENTON COUNTY LOCAL SCHOOL DIST               Yes
  MVC                 729784              831572718   DUKE ENERGY                                   Yes
   ML                 743018              914238393   UNKNOWN                                       Yes
   MK                 pi18027           1143217604    CARRY OUT                                     Yes
   MK                 pi18027           1143217604                                                  Yes
   MB                 905890              956314780   WOOD GROUP PSN                                Yes
   MB               78L82ERC          xup202280353    PRIVATE
   MN                 Y77930          YLS890249463    MAT                                           No
   MF                0717473              938273266   UNKNOWN                                       Yes
   MQ                       --            869494739   TWO RIVERS PHYCIATRIC HOSPITAL                Yes
   MS                   00000             945965943   NORTHWESTERN MUTUAL                           Yes
   MT                   11111             890434381   SONY BROOKE UNIVERSITY HOSPITAL               No
   MF                 903217              939398424   MILLER'S ALE HOUSE                            Yes
   ML                 906344              923257227   PRIVATE                                       Yes
   MN              76-410593               12840264   POWERKON CORP
   MD                 701648              963231063   RUSTY HARDIN & ASSOCIATES, LLP                Yes
   MJ                 215930              913623256   EMPLOYER                                      Yes
   MC                 906652              907395839   EMPLOYED                                      Yes



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 initials         Group ID            Health Plan ID             Primary Policy Holder Employer      of Benefits
   MW                   02730501                40572401TOYOTA                                           Yes
   MM                  WM12192               1253917801 WINDELS MARX LANE MITTENDORS                     Yes
   MF                      742888              949865350AMERICAN HOTEL REGISTER                          Yes
   MI                      714273              856498257BELL HELICOPTER                                  Yes
   NE                      716521              921130973GBS BENEFITS                                     Yes
   NH                       OVWY               JD4995642WOOD SPECIALISTS                                 Yes
   NG                  76-410492                16986246SLAMBEAU
   NM                   67410935                13434680WYOMING REFINING COMPANY                         Yes
   NA                      712022              872917555AFLCAL                                           Yes
   NM                      755681              913312532INSURITY                                         Yes
   NRS                     5U8368              955146059EMPLOYED RN                                      Yes
   NT                277163M002           MPI01394446Q  IATSE LOCAL 728 STUDIO ELECTRICAL LIGHTING       Yes
                                                        TECHNICIANS
  NPC                      714108            819098667/ MICHELLAN TIRE                                   Yes
                                     beacon 31186970303
  NN687300-010-00704 rx bin 610502          W220091109 HOLLEY NAVARRE WATER SYSTEM                       Yes
  NC                           N/A            890448455 DEPARTMENT OF CORRECTIONS                        No
  NB                        706778            940348046 DOUGLAS COUNTY HOSPITAL                          Yes
  NB                        709335            817501081 EMPLOYED                                         Yes
  NH                      0701178             901899797 PSCU                                             Yes
  NM                        185002            845669212 TARGET                                           Yes
  NR                    78-340001         304000014197 MONA ELECTRIC                                     Yes
  NT                        199409            968086038 EMPLOYED                                         Yes
  NT                    01-087905              16159875 XX                                               Yes
  NS                        706778            940348046 DOUGLAS COUNTY HOSPITAL                          Yes
  NR                        908455            953824884 CONSUMER PORTFOLIO SERVICES                      Yes
  NG                       8w7142             920895617 UNKNOWN                                          Yes
  NM                        752065            930480152 ADVANCED DISCOVERY                               Yes
  NM                        907788            940287378 MODCLOTH                                         Yes
  NN                      03K5206             966909621 24 HR FITNESS                                    Yes
  NN                     00882900             103473657 PRIVATE PAY
  NW                        704140            957320906 NONE                                             Yes
  NK              285583-10-0004            W215711330 PA LOTTERY                                        Yes
  NYI                       168504            823326263 UHC                                              Yes
  NH                        902715            962308026 PRIVATE PAY INS
  NM                        701439            906605652 PETSMART                                         Yes
  NL                        751992            903096322 ROAST DIABETES CARE                              Yes
  OTT                       902627            925379473 HYATT HOTEL                                      Yes
  PF                        714108            951003385 MICHELIN                                         Yes
  PP                        707837            953519476 UNKNOWN                                          Yes
  PW                        907463            901685402 H AND I TRUCK GROUP                              Yes
  PA                        704633            970393772 TRIBECA OVEN                                     Yes
  PS                    76-411262              14330843 LAWRENCE PAPER COMPANY                           Yes
  PES                       702649            902599779 DISCOUNT TIRE                                    Yes
  PC                        714108            927454767 MICHELEN                                         Yes
  PG                        702097            010083353 VVR                                              Yes
  PH                        9S8553            977108476 MORTON                                           Yes
  PK                        710712            594102936 AT&T                                             Yes
  PK                       8M9504             996381088 KEY LIGHTING INC                                 Yes



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Patient's                                                                                         Assignment
 initials        Group ID           Health Plan ID               Primary Policy Holder Employer   of Benefits
    PS                     755393            931350061   GEICO                                        Yes
   PM                      902807            919203943   CANIA LODGE                                  Yes
   PRC                    3U1643             934654042   N/A                                          Yes
    PS                     1u6558            978315333   MCCLAREN BAY REGIONAL MEDICAL CENTER         Yes
   PM                      701558            916931137   CORE MARK                                    Yes
    PS                     752372            920508966                                                Yes
    PS      708697/ rx bin 610279            927554648   AON                                          Yes
    PH                     702097            010055135   STATE OF OHIO                                Yes
    PP                     905270            922175950   PANERA BREAD                                 Yes
    PC                     902865            918710541   HALLMARK                                     Yes
    PL                 76-412155              17338460   STELTH TRAILORS BRISTOL INDIANA              Yes
    PR                 76-410192              17260266   PIERRE FOODS                                 Yes
    PT                     903625            905417173   KRONOS                                       Yes
   PM                      908962            930470818   ASURION                                      Yes
    PR                     010889             13256802   ASM AMERICA                                  Yes
    PB                     701648            932685692   BUTLER LIGHTING LLC                          Yes
    PS                    3G1058             961147210   TRI COUNTY TREE SERVICE                      Yes
    RR                 76-410474              16899545   ALTO-SHAAM                                   Yes
    RR                     168504            918315359   ALTO-SHAAM                                   Yes
    RR                   7021111             934058859   WASHINGTON UNIVERSITY                        Yes
    RT                 76-040226              15723094   MOLD MAN -- ELLSWORTH CORP.                  Yes
  RWC                      905361            943735630   OSHKOSH                                      Yes
  RLW                      752495            905801381   DOLLER TREE                                  Yes
    RC                   0907141             939074055   EUROMAX
    RC               ga7790m008          eup259a78761    EURA MAX                                     Yes
    RT                     710712            900910833   DIRECT TV                                    Yes
    RH                     690100            972154295   UNION PACIFIC RAILROAD                       Yes
    RC                     711959            853427690   PRIVATE POLICY                               Yes
   RN                      713531            960276252   MY TECH                                      Yes
   RM                      907826            919880072   PACIFIC SCIENTIFIC                           Yes
   RO                      742527            834796609   NA                                           Yes
    RB                     904656            917855890   US DRY CLEANING                              Yes
    RB                     714087            937340595   SHNUCKS                                      Yes
    RT                     242713            947887840   BARRETT AND STOKLEY                          Yes
    RL                     Y00001        YLS890642923    EMPLOYED                                     No
    RA                     742527            961034885   COCA COLA                                    Yes
    RC                     228733            909157787   TEACHER                                      Yes
   RM                      ep9842          1008881503    ELMA PHILANTHROPY FOUNDATION                 Yes
    RV                      23000            859750382   IDHP                                         Yes
    RL                     707574            855599396   DONALD DANFORTH PLANT CENTER                 Yes
    RJ                        N/A          540824824A    DISABLED
   RW                      142290            939738899   RYDER                                        Yes
    RB                     228594            850778376   CABLE VISON                                  Yes
   RCD         000000000000000               800270944   PNFS RAIL ROAD                               Yes
   RDF                 76-412328              17109158   EMPLOYED                                     Yes
    RL                    bf10198          1218794401    UNITED HEALTH CARE OXFORD                    Yes
   RM                      702625            924616273   TRAVELER                                     Yes
   RM                      752713            971750718   PWC                                          Yes
   RM                      714791            979749239   TELENETWORK                                  Yes



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Patient's                                                                                        Assignment
 initials     Group ID            Health Plan ID                Primary Policy Holder Employer   of Benefits
   RN                 sh18705            1009173401    SACRED HEART HOUSING                          Yes
   RP               76412205                17115218   COMCAST                                       Yes
   RR                  908486           91187726-04    PROVIDENCE CARE CENTERS                       Yes
    RJ                     11              943621038   KARMA-FIX ENVIRONMENTAL                       Yes
   RA              76-411535               Y15464391   GOOD SAMARITAN HOSPITAL                       Yes
   RW               76411858                16115619   ALTER TRADING CORPORATION                     Yes
   RS                  8U1736              947940053   ARIZONA DEVELOPMENT                           Yes
   RS                       0              972953274   PEPPER SNAPPLE GROUP                          Yes
   RB                  702442              904861490   UNKNOWN                                       Yes
   RD                  906518              919453760   COMNET                                        Yes
   RF                  714827              954025274   FOBEXO                                        Yes
   RF                  469443              906511116   EDEN TOWN COMPANY                             Yes
   RG                  5p5437              922768507   HCI GROUP                                     Yes
   RG                  189416              874010643   JP MORGAN CHASE.                              Yes
   RH                  199409              939488229   FLIGHT ATTENDANT                              Yes
   RK                  Y05000              890248878   UNKNOWN                                       No
                                BCBSID YLS890248878
   RL                 709277               933406886   MARRIOT HOTELS                                Yes
   RN                 717473               949439783   DANAHER CORP                                  Yes
   RS              76-411130                17867750   HEARTLAND AUTOMOTIVE                          Yes
   RT                 907181               907277124   TAKE 5 OIL CHANGE                             Yes
   RT                 907181               907277124                                                 Yes
   RT                 202970               942645167   IT WORK                                       Yes
   RT              002342993           XXP980940268                                                  No
   RT                     n/a          XXP980940268    RETIRED                                       Yes
  RWS                 907815               918775019   CLEGG TERMITE PEST CONTROL                    Yes
   RB               01960958                13419487   SMETA                                         Yes
   RG                  5J1731              927286284   SEIU DISTRICT 1199                            Yes
   RS                 907847               951996636   BALING CORP                                   Yes
  RM             877-7ny-ship              890817535   CITY OF GLENN COVE                            No
   RH                 221775               878285142                                                 Yes
  RLG                   23000              800500504   BURLINGTON NORTHERN SANTA FE RAILWAY          Yes
  RM                  905531               826632821   BANK OF AMERICA                               Yes
   RD                07N6692             984 917 453   JF MORAN                                      Yes
   RJ                 905889               978111724   DITECH FINACIAL                               Yes
   RK              76-410761                14035397   EMPLOYED                                      Yes
   RT                 902715               927375838   PRIVATE PAY                                   Yes
   RC              76-010697                11958382   NWTC                                          Yes
   RE                 755870               430356341   PRIVATE                                       Yes
   RH         331-56310-0001              RV1765346    FUSION BOILERWORKS                            Yes
  RM                  480807               847820544   ULTIMATE AIR                                  Yes
  RM                  742773               827042695   NIELSEN                                       Yes
   RP                 5u8951               901698602   GREEN CRAFT INTERIORS                         Yes
   RR                 304000               804687642   GENERAL ELECTRIC                              Yes
   RV              76-411485                14910465   HERITAGE FINANCIAL GROUP.                     Yes
   RV                      99               13560181   BLESSEY MARINE                                Yes
   SR                 185002               911977753   N/A                                           Yes
   SL                 743018               914238393   ABM                                           Yes
   SN                 708547               944465848   WALGREENS                                     Yes



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    SS                   709509               964711746   CACI INCESTIGATIONS                           Yes
   SW                    193843               003035839   METLIFE                                       Yes
   SW                    712567               958744633   GEROGIA PACIFIC                               Yes
   SD                    904385               929475619   WESTERN TOOL AND SUPPLY                       Yes
   SN                    6U0730               947666523   WEIN INC                                      Yes
   SJP                 76550003                13217193   CARTHAGE COLLEGE                              Yes
   SG                                         969232998   SHAMROCK FOODS                                Yes
    SF                      BG967           1193168906    NO EMPLOYER                                   Yes
    SK                     199409             824181768   SW AIRLINES                                   Yes
   SA                      717619             973956880   TRENDFIRST                                    Yes
   SM       709876 Rx Bin: 610014             917029448   LVHM-BENEFIT COSMETICS                        Yes
   SA                      108000             910883346   WELLS FARGO                                   Yes
   SB                      705963             903390290   N/A                                           Yes
    SL                 76-411297              Y15798462   MILARCON                                      Yes
    SL                     752047             979070485   ATRIA SENIOR LIVING                           Yes
   SM                      902408             930850275   CARTON CRAFT INC                              Yes
   SN                      713343             936193663   PAYCOM                                        Yes
    ST                     730727             929313369   1 MAIN FINANCIAL.                             Yes
   SW                     8W7148              942308945   MERRYVILLE HOUSING AUTHORITY                  Yes
   SM                      199637             808512093   N/A                                           Yes
   SM          4U0499 or 4UO499               923840357   PLUS 1                                        Yes
   SM                      712909             967522152   PIONEER PRODUCTS                              Yes
   SQ                  78-300003              px0090922   TRIBAL                                        Yes
   SQ                  78-300003              px0090922   MASHANTUCKET PEQUOT TRIBAL,                   No
   SW                      707837             847350810   DHS RHODE ISLAND
    SC                     908362             918105070   FPI MANAGEMENT INC                            Yes
   SH                    00U5854              928473460   SHCHOLLES LAND SURVEYING                      Yes
  SMM                      905610             101058205   UNIVERSITY OF MISSOURI                        Yes
   SR                      744332             975576312   ALMAC                                         Yes
   SW                      714817             976503464   ACE HARDWARE                                  Yes
    SL                     705576             839054827   UNKNOWN                                       Yes
   SG                      228222             805940162   DELOITTE                                      Yes
    SS                 76-412453               17392961   FRONT RING FURNISHING                         Yes
   SD                  76-420064          175000003186    LAS VEGAS POLICE                              Yes
   SM                      752713             949180982   TWC                                           Yes
   SM                     0U2187              943075495   BARTLETT BEARING COMP                         Yes
   SD                       20157             914416157   RAYTHEON                                      Yes
   SA                      717727             939691172   SONIC                                         Yes
   SA                      908868            C05379589    RUDY'S COUNTRY STORE AND BBQ
   SM                      713828             907789019   JANX                                          Yes
    SC                   6102798              943098306   NA                                            Yes
   SB                      703997             977998049   STRYKER                                       Yes
   SH                     7W1277              JD5001597   ROBERT CAMPBELL AND ASSOCIATES                Yes
                                      UBH ID 919306299
  SH                        703995            976206680   ENTERPRISE CAR RENTAL                         Yes
  SM                        905903            902503818   JOE MOCKINGS                                  Yes
  SW                        703412            913851939   AFFORDABLE CARE LLC                           Yes
  SS                        717858          878 005 883   OUTLOOK GROUP                                 Yes
  SH                        8p1364            938286083   COWBOY HARLEY DAVIDSON                        Yes



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    SH                   903247                  959035867    LOAN DEPOT                                    Yes
    SL                   5P4688                  939752661    SELECT BUILDING SYSTEMS                       Yes
    ST                   712525                  942490222    JONES LANG LASALLE                            Yes
   SM                     00000                  982217425    MISCO                                         Yes
    SH                       00                  034628359    SOUTHWEST NETWORK                             Yes
    SB                   908962                  905146584    SENIOR WORKFORCE ANNALIST                     Yes
   SSP                   744173                  010894006    WALMART                                       Yes
    SR      709155 RxBin:610279                  000304225    BROOKDALE SENIOR LIVING                       Yes
    SP                   226310                  017072700    DELTA AIRLINES                                Yes
    SH                   752391                  957431040    STEWARD TITLE                                 Yes
   SO                    690100                  800323024    UNION PACIFIC                                 Yes
    SK                 NY20392                 1226946701     THE BROOKLYN HOSPITAL CENTER                  Yes
   SAB                   753836                  928450443    UNITED NATURAL FOODS.                         Yes
    SP                   4g1500             966655158 Plan    GINTZLER FTP                                  Yes
                                        Code 911-87726-04
   SY                76-411826                   y16155385    PHOENIX CHILDRENS HOSPITAL                    Yes
   SW                   700452                   924317615    LMI AEROSPACE                                 Yes
   SM                   714827                   902978744    CEXEDO                                        Yes
   SS                   902837                   923232202    KRAFT FOODS                                   Yes
   SP                76-411931                    16242854    REX HEALTHCARE                                Yes
   SC                  8W5048                    949754512    N/A                                           Yes
   SR                   7U6171                   907292235    L-SOFT INTERNATIONAL
   SC                    72527                   917543638    COCA COLA                                     Yes
   SH                   703995                   900193906    UHC                                           Yes
   SS                   904852                   918429907    COCA COLA FL                                  Yes
   SS                   6U5601                   963925024    ROLLING PLAINS MANAGMENT                      Yes
   SU                   108000                   926725913    WELLS FARGO                                   Yes
   SD              91130026-02               444000011105     VENETIAN                                      Yes
   SG                   108000                   858351181    WELLS FARGO                                   Yes
   SH                   183644                   953977646    PFIZER                                        Yes
  SMN                   742883                   920720047    LOWES                                         Yes
   SM                   100400                 832020224 /    CATERPILLAR                                   Yes
                                  Health Plan # (80840)911-
                                                   87726-04
   SR                   1w2230                   902099290    PRIVATE POLICY                                Yes
   SS                   904957                   970695658    PRIVATE PAY                                   Yes
   SS                 00884700                   103150120    SELF                                          Yes
   SS                   717680                   972574553    GLOBAL CASH ACCESS                            No
  SWR                   4p9201                   973067745    MERIT CONTRACTORS                             Yes
   SB                   526143                   950082108    VALUE ADDED SOLUTIONS INC.                    Yes
   SA                   729451                   974283189    MAZAK CORP.                                   Yes
   SB                        99                  955285894    ZURIK INSURANCE                               Yes
   SK                   902594                   955907858    INTERVISUAL PACK                              Yes
   SR                   742702                   813948427    HILTON RESORTS                                Yes
  SWA                   Y28058               YLS890565102     EMPLOYED                                      No
   SD                  05w3662                   971166276    PREMEIRE RELASTATE                            Yes
   TV                76-411209                   Y14004000    BEST CARTAGE                                  Yes
   TS                     xxxxx                  890140928    BAYPOINT SCHOOL DISTRICT                      No
   TC                   OPB378          OPB100290851001       COMMONWEATH OF PA                             No



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   TV                   610279            956815395   KENAITZE INDIAN TRIBE                            Yes
   TK                   189416            836974838   CHASE BANK                                       Yes
   TH                   906313            925804330   DEEP WELL ENERGY SVC                             Yes
    TL                  711048            939556490   ENDRESS+HAUSER                                   Yes
    TL                  729476            912152761   CRESENT RESORT AND HOTEL                         Yes
   TM                   193843            000674478   MET LIFE                                         Yes
   TM                  2458462         U6117938304    MASSMUTUAL FINANCIAL GROUP                       No
   TH                76-410018        444000044632    LAS VEGAS SANDES COR.                            Yes
   TB                   9s2920            977161086   EBSASSEP MGMT                                    Yes
   TR                76-411986             16461873   LOCAL PLUMBERS AND PIPE FITTERS 633              Yes
  TTM                   8u0427            917533366   HEEDE                                            Yes
   TG                   4S8641            913763674   COMMERICAL TRADE SOURCE                          Yes
   TC                   213514            920746247   TRANSAMERICA
   TM                   709155            000521590   BROOKDALE                                        Yes
   TC                  0W0023             978853420   ERNIES AND CERESCO                               Yes
   TW                   182557            929923401   KAISER ALUMINUM                                  Yes
    TF                      xx            951561786   UNKNOWN                                          Yes
   TH                   707127            955891898   NORDAM                                           Yes
   TK                   517000            854193786   LUCENT TECHNOLOGIES                              Yes
    TL                  704283            934622196   CHARMERLAND COLLEGE DE VRY                       Yes
    TP                  5P9261            902957238   HOME REBULIDER                                   Yes
   TAI                  905957            911222555   ENERGY SERVICES HOLDINGS LLC                     Yes
   TD                   705944            870521258   UNKNOWN                                          Yes
   TC                   715014            944226249   NATIONWIDE                                       Yes
   TG                   717095            939868650   INTELAGRATED                                     Yes
   TC                76-410611             14540548   PIZZA HUT SUGAATE ENTERP.                        Yes
    TT                  168504            977119190   UNITED HEALTH CARE                               Yes
    TZ                  712852            958353367   GREEN BAY PACKAGING                              Yes
   TD                 76430125             13605877   SAINT ANTHONY HOSPITAL                           Yes
    TF                  730090            918976088   SA LODDER                                        Yes
   TG                76-410616             15285207   CAPITAL INSURANCE GROUP                          Yes
    TF           737515-10-001        w215544769 /    PA EMPLOYEES BENEFIT TRUST FUND PA DEPT OF       Yes
                                  UBH ID 205620459    TRANSPORTATION
   TT                  8m8168             956138652   STAFFING AGENCY                                  Yes
  TW                       111            939758107   AO SMITH                                         Yes
  TM                    108000            943248287   WELL FARGO                                       Yes
  TGS                   9R1514            941841956   EMPLOYED                                         Yes
   TZ                   4w8824            938914025   BACUDINE                                         No
   TC                   701439            936507491   PETSMART-                                        Yes
   TC                   711943            848288929   PRIVATE                                          Yes
  TD                    813580            934979759   ROYAL TENCATE                                    Yes
   TJ                       11            965916788   CC REFRIGERATION                                 Yes
   TA                   715014            930563016   NATION WIDE                                      Yes
   TB                   6U5376            919421108   WINSTON HEAT                                     Yes
   TZ                   742883            919949435   LOWES                                            Yes
   TT                   703995            925837621   ENTERPRISE HOLDINGS                              Yes
   TB                  ny20392          1034397205    VASSAR BROTHERS MEDICAL CENTER                   Yes
   TC       111111111111111111            944810356   NA                                               Yes
   TL                76-411553             15880409   GOMACO                                           Yes



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Patient's                                                                                      Assignment
 initials     Group ID          Health Plan ID                Primary Policy Holder Employer   of Benefits
    TN                701368             972618940   BAKER HUGHES                                  Yes
    TS                755106             940955675   TERROS HEALTH                                 Yes
   TDB                714945           976 578 434   TIME WARNER CABEL                             Yes
    TC                710341             963984601   SALLY BEAUTY                                  Yes
    TC                189897             940229280   GAP INC                                       Yes
    TS                704660             872293322   OLD DOMINION FREIGHT LINES                    Yes
    TT             76-412327              17844690   HARLEY DAVIDSON PENSICOLA                     Yes
    TB             76-411565              15225470   HOOSIER RACING TIRE CORP                      Yes
    TL                707837             914109746   RHODE ISLAND COLLEGE                          Yes
   TM                   34000            915585903   GE                                            Yes
    TS                189416             934648642   JP MORGAN CHASE                               Yes
    TS              76410425              12802065   MISSOURI CONSOLIDATED HEALTH CARE PLAN        Yes
   TW                 712974             924282442   N/A                                           Yes
    VL                707130             926685326   PRECISION GUAGE                               Yes
   VG                 904145             925237215   INTERNATIONAL DEVELOPMENT SOL                 Yes
   VN                 701388             954915366   XXXX                                          Yes
    VB                185002             963891409   TARGET RETAIL SALES                           Yes
    VB                730490             818487587   FRANKLIN COUNTY                               Yes
   VLD                 9J0664            920269053   RON ESSARY                                    Yes
    VL                189416             845801819   PAYMENTTECH FOR CHASE BANK                    Yes
  VMG              76-410425              12819342   UKNOWN                                        Yes
    VB             76-411223              14023153   TECH-AIR COMPANIES                            Yes
   VH                  7s8256            921091948   COWBOY HARLEY DAVIDSON                        Yes
    VC                704660             970937297   OLD DOMINION                                  Yes
   VH              76-411932              17621687   JOHNSON HOSPITAL                              Yes
    VP                903040             924493743   SMUD SAC MUNIC DIS                            Yes
   WT                 5w7954             955897464   THE TECHNOLOGY HOUSE                          Yes
   WG              76-410638              13393556   QUAKER WINDOWS                                Yes
   WM                 712820             912408046   GEORGIA PACIFIC                               Yes
   WW                 902786             971034471   ATL PUBLIC SCHOOL SYSTEM                      Yes
  WWJ                 905889             915098055   DITECH                                        Yes
   WM                 8U8276             816970559   SELF                                          Yes
   WM                 8U8276             816970559   APPOINTMENT PLUS                              Yes
   WM                 8U8276             816970559   ADVANTAGE SOLUTIONS                           Yes
   WR                 701388             952489930   CVS
   WSJ                708447             915477789   ACDL                                          Yes
   WC                 730064             826705005   APS                                           Yes
   WM                 814354             914774684   DELTA CONSTRUCTORS                            Yes
   WB                 702581             967905161   KBR                                           Yes
   WC                 704534             967235483   SAIA MOTOR FREIGHT LLC                        Yes
   WG                 217725             936822869   NA                                            Yes
   WN                 742340             902849597   USPS                                          Yes
   WY                 752250             972852074   BLOUNT                                        Yes
   WZ                 213514             963059548                                                 Yes
   WM                 189416             968683400   JP MORGAN CHASE                               Yes
   WP                 909205             947582338   ST LOUIS CITY PUBLIC SCHOOLS                  Yes
    YL                718733             974678652   COLORADO STATE UNIVERSITY                     Yes
    YR              76410018         444000010491    CASINO                                        Yes
    YP                709848             862237093   OSRAM SYLVANIA                                Yes



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Patient's                                                                                   Assignment
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    ZL               709335 /            804392202 JOHN DEERE                                   Yes
                  Rx# 610279
  ZP                   752305          972765055    SOUTH WESTERN ENERGY                        Yes
  ZS                   902967          918702570    SAULSBURY INC
  ZW                   OS1601     YUQ 927 929 629   SELF PAY PLAN                               Yes
  ZW                   712781          832848432                                                Yes
  ZM                   197944          874193413    SPORT AUTHORITY                             Yes




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